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                                                                           May 16, 2018
             VIA EMAIL
             Laurie E. Morrison, Esq.
             Law Offices of Laurie E. Morrison
             100 Church Street, 8th Floor
             New York, NY 10007

                        RE: Ciera Washington v. Walgreens, et al.
                            17-cv-2393 (JMF)

             Dear Laurie:
                     As you know, we represent Defendants Walgreen Co., Duane Reade Inc., Duane Reade
             International, LLC, Germaine Allen, and Vivian Ghobrial (collectively, “Defendants”) in the
             above case. In advance of the close of discovery, we write to address the following issues
             relating to Plaintiff’s deposition.
             Post-Deposition Documents
                    During Plaintiff’s deposition, the undersigned reiterated a request – which is covered by
             Defendants’ Document Request No. 67 – for Plaintiff to produce all documents relating to her
             income from Throgs Neck Urgent Medical Care (“Throgs Neck”). Please provide such
             documents or, in the alternative, Defendants are willing to stipulate that Plaintiff’s alleged lost
             wages are cut off as of Plaintiff’s first day of employment at Throgs Neck.
                    Plaintiff testified that she received from Throgs Neck a corrected offer letter, job
             description, and wage notice with her correct job title. Please produce such documents.
                    Plaintiff also testified that medical records from Montifiore indicated that she suffered a
             miscarriage as a result of stress caused by Defendants, and that such documentation might
             include her discharge papers. Please produce any documents from Montifiore in Plaintiff’s
             possession or control. In the alternative, please confirm that Plaintiff is not aware of the
             existence of any documents from Montifiore other than those that Defendants obtained in
             response to their third-party subpoena, bearing Bates Nos. DR 591-774.
                     Defendants reserve the right to seek the production of additional documents pending their
             receipt and review of the transcript from Plaintiff’s deposition.




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Fees and Costs Relating to Plaintiff’s Cancelled Deposition
       In accordance with the Court’s Order dated May 4, 2018, Defendants provide herein a
statement “for all of their fees and costs associated with the aborted depositions on April 24 and
25, 2018, including the fees involved in preparing Defendants’ letter of April 25, 2018.” (Dkt.
113.) As directed by Judge Furman, Defendants have omitted their “fees and costs associated
with preparing for the deposition itself.” (Id.)

        Please note that the rates described below of $395/hour for the undersigned, and
$190/hour for paralegal Alayna Shannon, reflect discounts from my firm’s standard rates. These
reasonable rates are commonly approved in the Southern District of New York. E.g., Shabazz v.
City of N.Y., No. 14-CV-6417 (GHW), 2015 WL 7779267, at *3 (S.D.N.Y. Dec. 2, 2015)
(“Courts in this district have generally determined that the range of appropriate fees for
experienced civil rights litigators is between $350 and $450 per hour”); Dancy v. McGinley, 141
F. Supp. 3d 231, 238 (S.D.N.Y. 2015) (“[I]t seems clear that, for experienced attorneys, hourly
rates of $300-400 are unremarkable in civil rights cases in the Southern District.”); Duran-
Peralta v. Luna, 2018 WL 1801297, at *3 (S.D.N.Y. Apr. 2, 2018) (“Courts in this District
typically award rates not to exceed $200 per hour for paralegals.”).

Costs for Plaintiff’s Non-Appearance on April 24 and 25, 2018
Date          Vendor                       Description                                 Amount
4/24/2018     Esquire Deposition Solutions Cancellation fee for no appearance          $95.00
4/24/2018     Esquire Deposition Solutions Costs for Statement on the Record           $135.00
                                           (minimum transcript fee)
4/25/2018     Esquire Deposition Solutions Cancellation fee for no appearance          $95.00
4/25/2018     Esquire Deposition Solutions Costs for Statement on the Record           $135.00
                                           (minimum transcript fee)
Total Costs:                                                                           $460.00

Fees for Plaintiff’s Non-Appearance on April 24 and 25, 2018
Date         Timekeeper/Title    Narrative                                   Hours     Amount
4/23/2018 Aaron Warshaw,         Emails with Laurie Morrison                 .30       $118.50
             Attorney            regarding Plaintiff’s last-minute
                                 unavailability to be deposed until
                                 1:30pm.
4/23/2018 Aaron Warshaw,         Emails with David Metz regarding            .20       $79.00
             Attorney            Plaintiff’s last-minute unavailability
                                 to be deposed until 1:30 pm.
4/24/2018 Aaron Warshaw,         Attention to Court order in response        .30       $118.50
             Attorney            to Plaintiff’s unavailability to be
                                 deposed until 1:30pm, including
                                 communications with David Metz
                                 regarding same.
4/24/2018 Aaron Warshaw,         Draft letter to Court regarding             .90       $355.50
             Attorney            Plaintiff’s non-availability to be
                                 deposed until 1:30pm.
4/24/2018 Aaron Warshaw,         Attention to Plaintiff’s failure to         1.50      $592.50
             Attorney            attend her deposition, including
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Date          Timekeeper/Title      Narrative                                Hours    Amount
                                    numerous emails and telephone
                                    conferences with David Metz,
                                    telephone conferences with Laurie
                                    Morrison, and statements made on
                                    the record to reflect same.
4/24/2018     Alayna Shannon,       Edit and finalize letter to Judge        .50      $95.00
              Paralegal             Furman responding to Plaintiff’s
                                    Letter Motion regarding her
                                    scheduling of Plaintiff’s deposition.
4/25/2018     Aaron Warshaw,        Communications with David Metz           .30      $118.50
              Attorney              regarding Plaintiff’s “no show” at her
                                    deposition.
4/25/2018     Aaron Warshaw,        Communications with Plaintiff’s          .30      $118.50
              Attorney              counsel Laurie Morrison regarding
                                    Plaintiff’s “no show” at her
                                    deposition.
4/25/2018     Aaron Warshaw,        Attention to Plaintiff’s “no show” at    .50      $197.50
              Attorney              her deposition, including statements
                                    made on the record to reflect same.
4/25/2018     Aaron Warshaw,        Draft letter to Court regarding          .80      $316.00
              Attorney              Plaintiff’s failure to appear at her
                                    deposition.
4/25/2018     Aaron Warshaw,        Review and compile communications        .50      $197.50
              Attorney              with Laurie Morrison for use in letter
                                    to Court regarding Plaintiff’s failure
                                    to appear at her deposition.
4/25/2018     Aaron Warshaw,        Emails with Laurie Morrison              .30      $118.50
              Attorney              regarding letter to Court regarding
                                    Plaintiff’s failure to appear at her
                                    deposition.
Total Fees:                                                                           $2,425.50

        In accordance with Judge Furman’s May 4th order, no later than noon on May 18, 2018,
please indicate Plaintiff’s agreement to pay the above-described sums. Should Plaintiff not agree
to do so, then Defendants will submit the foregoing to the Court for determination. Defendants
reserve the right to seek fees associated with such an application, should it become necessary.
       Please contact me if you would like to discuss further.
                                                Sincerely,
                                                OGLETREE, DEAKINS, NASH,
                                                 SMOAK & STEWART, P.C.
                                                By /s Aaron Warshaw
                                                     Aaron Warshaw
                                                                                        34023219.1
